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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


                                      STANDING ORDER

        This Standing Order applies to all civil cases reassigned to the calendar of District Judge
Steven C. Seeger. All previously-set status or motion hearing dates are vacated. Any trials set
for September 23, 2019 through October 31, 2019 are cancelled and will be re-set by the Court.
Unless otherwise ordered, all other previously-set deadlines and schedules remain intact. The
Court will set a date for a reassignment status conference after the parties have filed the joint
status report. The Court will address already-pending motions at that conference.

        The parties are directed not to notice or re-notice any motions, with the exception of
emergency motions, before appearing at the reassignment status conference. All emergency
motions arising before September 30, 2019 should be noticed before the emergency judge. For
all emergency motions arising after September 30, 2019, but before the date of the reassignment
conference, the parties are directed to contact chambers at (312) 435-5588. Emergency matters
must be true emergencies, meaning that a delay in hearing them would cause serious and
irreparable harm to one or more of the parties.

         To help the Court learn about the case, counsel shall confer, prepare, and file a joint
status report by October 1, 2019. If defense counsel has not yet filed an appearance, plaintiff’s
counsel should prepare the status report. The report shall contain the information requested in
the Initial Status Report For Reassigned Case. A Word version of the Initial Status Report is
available on Judge Seeger’s website at www.ilnd.uscourts.gov. The parties must deliver two (2)
copies of the Initial Status Report to the courtroom deputy’s drop-box outside room 1728 by
October 2, 2019.




Date: September 23, 2019                              /s/ Steven C. Seeger

                                                      Steven C. Seeger
                                                      United States District Judge
